                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                   )
                                           )   No. 3:11-00012
v.                                         )   Judge Sharp
                                           )
DEZORICK FORD [32]                         )
                                           )

                                         ORDER



      Pending before the Court is Defendant’s SEALED MOTION (Docket No. 2089).

      The motion is GRANTED and a change of plea hearing is hereby scheduled for

Wednesday, May 21, 2014, at 10:30 a.m.

      It is so ORDERED.




                                         KEVIN H. SHARP
                                         UNITED STATES DISTRICT JUDGE




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